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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

        DEFENDANT’S NOTICE REGARDING CONGRESSIONAL HEARINGS

       At the pretrial conference in the above-captioned case, the question of how to bring it to

the Court’s attention if Congressional hearings occurred during the trial that raised a relevant

issue concerning publicity and any possible impact on the jury was discussed. The Court advised

that it would consider the Defendant to have a continuing objection [July 14, 2022 Tr. at 25] and

that any additional relevant evidence appropriately would be raised by either a motion or a notice

identifying the matter at issue. [July 14, 2022 Tr. at 25-26]. That is the purpose of this Notice.

       During the prime-time television viewing hours, beginning at 8:00 p.m. on July 21, 2022,

and widely broadcast across cable and network television, Select Committee hearings were

conducted, in the same manner as earlier identified. The July 21, 2022, televised hearings

included a feature segment on the Defendant Stephen K. Bannon of a particularly inflammatory

nature. The following is a link to the video and audio segment, narrated by Representative

Cheney:

https://mms.tveyes.com/PlaybackPortal.aspx?SavedEditID=868196e1-a298-44bd-a1a5-

8e1a419fffa5.
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          The nature and substance of the segment present a significant cause for concern regarding

possible prejudice to Mr. Bannon’s constitutional fair trial rights and right to a jury trial if a juror

viewed the segment of was made aware of it in some manner. The question is how to address the

matter.

          This case is at a stage in which the evidence has closed and the trial will move into

closing argument, jury instructions, and deliberations. During the proceedings held on July 21,

2022, outside the presence of the jury, a concern was raised in advance about the broadcast of the

hearings at issue and a discussion was held among all parties and the Court about whether and in

what manner, if at all, to broach the subject with the jury in advance. The Court addressed the

matter, by reminding the jury once again not to watch TV, etc., consistent with the views of the

defense that this would be the most prudent way to handle this development, rather than

highlighting it and perhaps increasing the chances that, once highlighted, it would become a

factor in a juror’s mind. [July 21, 2022, Tr. at 94-97]. The defense continues to believe that the

Court handled it in the most appropriate manner under all attending circumstances.

          At the time of the discussion as to how to address the matter in advance, the exact

substantive coverage of the widely advertised prime-time hearing was not known. Now that we

know that it included a highly inflammatory segment featuring Mr. Bannon, the question arises

as to whether jurors should be questioned about any exposure to the piece. An associated

concern is whether a juror might be reticent to acknowledge having seen the broadcast or having

heard about or discussed it if she or he believes she or he might have run afoul of a rule and be in

trouble with the Court.

          The Defendant respectfully requests, subject to the Court’s experienced view on how best

to address the matter, that there should be some inquiry, while assuring the jurors of the



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importance of candor and that they will not suffer negative consequences if they acknowledge

exposure to the broadcast or its subject.

       The defense also would like to give the Court notice that CNN that, upon information and

belief, has advertised that it is rebroadcasting on July 22, 2022, its Special Report on Mr. Bannon

that originally aired on July 17, 2022.

Dated: July 22, 2022                         Respectfully submitted,

                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                /s/ M. Evan Corcoran
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                                             Counsel for Defendant Stephen K. Bannon



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of July, 2022, a copy of the foregoing Notice

was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                                /s/ M. Evan Corcoran
                                             M. Evan Corcoran (D.C. Bar No. 440027)


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